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     Fill in this information to identify the case:
                                                                                                                  11/24/2023              11:05 PM
     United States Bankruptcy Court for the:

     ____________________ District of _________________
                                          (State)
     Case number (If known): _________________________ Chapter _____

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                        12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                        Chapter 7
                                        Chapter 11

Part 2:      Identify the Debtor


2.   Debtor’s name                                  Wells Fargo
                                       ______________________________________________________________________________________________________



3.   Other names you know                Wells Fargo Bank, National Association
                                       __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                 Mailing address, if different
5.   Debtor’s address

                                         420 Montgomery St.
                                       ________________________________________________            _________________________________________________
                                       Number     Street                                           Number     Street


                                                                                                   _________________________________________________
                                       _________________________________________________
                                                                                                   P.O. Box


                                                           _______ 94104
                                            San Francisco, Ca
                                       ______________________________
                                                                   _________                       _____________________________ _______ _________
                                       City                              State    ZIP Code         City                          State   ZIP Code



                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business

                                                      San Francisco
                                       _________________________________________________           _________________________________________________
                                       County                                                      Number     Street

                                                                                                   _________________________________________________

                                                                                                   _____________________________ _______ _________
                                                                                                   City                          State   ZIP Code


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Debtor              Wells Fargo Bank N. A.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




6.   Debtor’s website (URL)            http://www.wellsfargo.com
                                   _____________________________________________________________________________________________________




7.   Type of debtor                 CCorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                    PPartnership (excluding LLP)
                                    OOther type of debtor. Specify: __________________________________________________________________________


8.   Type of debtor’s
                                   Check one:
     business
                                    He
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    Sin
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                    Ra
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                    Sto
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                    Co
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    Cle
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    No
                                     None of the types of business listed.
                                    Un
                                     Unknown type of business.


9.   To the best of your            NNo
     knowledge, are any
     bankruptcy cases               YYes. Debtor _________________________________________________ Relationship __________________________
     pending by or against
                                            District __________________________ Date filed _______________ Case number, if known____________________
     any partner or affiliate
                                                                                           MM / DD / YYYY
     of this debtor?

                                            Debtor _________________________________________________             Relationship __________________________

                                            District __________________________ Date filed _______________ Case number, if known____________________
                                                                                           MM / DD / YYYY




Part 3:       Report About the Case

10. Venue                          Check one:

                                    Ov
                                     Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                      bu
                                      business, or principal assets in this district longer than in any other district.

                                    A bbankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11. Allegations                    Each petitioner
                                        p          is eligible to file this petition under 11 U.S.C. § 303(b).
                                   The debtor
                                       de     may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                      least one box must be checked:
                                   At leas

                                    Th
                                     The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                      fide dispute as to liability or amount.

                                    Wi
                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                      ag
                                      agent appointed or authorized to take charge of less than substantially all of the property of the
                                      de
                                      debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12. Has there been a                No
     transfer of any claim
     against the debtor by or       Ye
                                     Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
     to any petitioner?               Rule 1003(a).


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Debtor        Wells     Fargo Bank N. A.
              _______________________________________________________
               Name
                                                                                                        Case number (if known)_____________________________________



13. Each petitioner’s claim                    Name of petitioner                                    Nature of petitioner’s claim              Amount of the claim
                                                                                                                                               above the value of
                                                                                                                                               any lien


               Ishanna Ible , ______________________________________
                              Estate of Ishanna Ible                                                        Victim,
                                                                                                     _________________________________         $ ________________

               The Ible LLC, U.S.     Trademark: ISHA
                              ______________________________________
                                                                                                    Affected      customer
                                                                                                    _________________________________          $ ________________

                                               ______________________________________                _________________________________         $ ________________

                                                                                                           Total of petitioners’ claims   $317,040,000
                                                                                                                                            $ ________________


   If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
   the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
   additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
   statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
   along with the signature of the petitioner’s attorney.


Part 4:     Request for Relief

   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
   $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

   Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
   petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
   foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

   I have examined the information in this document and have a reasonable belief that the information is true and correct.

   Petitioners or Petitioners’ Representative                                             Attorneys


   Name and mailing address of petitioner

    Ishanna Ible
   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any

    Pro Se at
   ______________________________________________________________
   Name
                                                                                          Contact phone    _________________ Email ___________________________

    this time.
   ______________________________________________________________                         Bar number      ___________________________________________________
   Number Street

   _________________________________ ______________ _____________                         State           _________________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is tru
                                                             true and correct.
                             11/24/2023
   Executed on _________________
               MM / DD / YYYY                                                            8 ________________________________________________________________
                                                                                          Signature of attorney

8   ______________________________________________________________
    ____________________________________________________
                                                                                          Date signed      _________________
   Signature of petitioner or representative, including representative’s title
                                                                                                           MM / DD / YYYY



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Debtor         _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________
               MM / DD / YYYY
                                                                                         8 ________________________________________________________________
                                                                                          Signature of attorney


8   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________
               MM / DD / YYYY
                                                                                         8 ________________________________________________________________
                                                                                          Signature of attorney


8   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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